Court of Appeals
of the State of Georgia

                                                              ATLANTA, August 26, 2024

The Court of Appeals hereby passes the following order

A25A0042. SHANNON A. GROSE v. THE STATE.


       The appellant in this case failed to comply with the notice of docketing mailed by this
Court and with Court of Appeals Rule 23 (a), regarding the filing of an enumeration of errors
and brief within twenty days after the appeal was docketed. See also Court of Appeals Rule 13.

        On August 13, 2024, this Court ordered the appellant to file an enumeration of errors and
a brief no later than August 23, 2024. As of the date of this order, the appellant's enumeration of
errors and brief still have not been filed. Accordingly, this appeal is deemed abandoned and is
hereby ordered DISMISSED. Court of Appeals Rules 7, 23 (a).



                                      Court of Appeals of the State of Georgia
                                           Clerk's Office, Atlanta, August 26, 2024.

                                           I certify that the above is a true extract from the minutes
                                      of the Court of Appeals of Georgia.

                                           Witness my signature and the seal of said court hereto
                                      affixed the day and year last above written.

                                                                         , Clerk.
